                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )           No. 3:12-00013
                                                )           JUDGE CAMPBELL
MANILA VICHITVONGSA                             )

                                             ORDER

       Pending before the Court is a Motion To Transfer (Docket No. 496), filed by Defendant

Vichitvongsa, pro se. Through the Motion, the Defendant requests an order directing the United

States Marshals Service to transfer him from the Warren County Jail to the Grayson County

Adult Detention Center because the latter facility has a superior law library. Counsel for

Defendant Vichitvongsa recently filed a similar motion, which the Court denied because the

Defendant has appointed counsel to represent him, and a prisoner’s constitutional right of access

to the courts is protected when he is represented by counsel. See, e.g., Martucci v. Johnson, 944

F.2d 291, 295 (6th Cir. 1991). (See Docket Nos. 481, 482). For the same reasons, this Motion is

DENIED.

       It is so ORDERED.



                                                     _________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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